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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 EUGENE CASTELLE,
                                Petitioner,                   21 Civ. 4694 (AKH)
                    -against-
                                                              18 Cr. 15-10 (AKH)
 UNITED STATES OF AMERICA,
                                                                   ORDER
                                Respondent.


ALVIN K. HELLERSTEIN, United States District Judge:

              Petitioner Eugene Castelle moves to direct the Clerk to provide him a copy of the

declaration filed by Gerald J. McMahon, Esq. (ECF No. 767). See ECF No. 771. Petitioner’s

motion is denied as moot. The Clerk will mail the document in due course. The United States

Attorney’s Office also should mail a copy to him.

SO ORDERED.

 Dated:
           New York, New York
           June 25, 2021                                                /s/
                                                           ALVIN K. HELLERSTEIN
                                                           United States District Judge
